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          In the United States Court of Federal Claims
                                         No. 20-410C
                                    (Filed: May 22, 2020)

                                            )
 IRA JEROME ROSS,                           )
                                            )
               Pro Se Plaintiff,            )
                                            )
 v.                                         )
                                            )
 THE UNITED STATES,                         )
                                            )
                      Defendant.            )
                                            )


                                   ORDER OF DISMISSAL

        On April 14, 2020 the court issued an order denying pro se plaintiff Ira Jerome
Ross’s motion to proceed in forma pauperis. (Doc. No. 6) (copy attached). The order
directed Mr. Ross to pay the filing fee by May 13, 2020 and that failure to do so would
result in the dismissal of his case for failure to prosecute.

        A review of court records indicates that, as of this date, Mr. Ross has failed to pay
the filing fee as directed. Accordingly, the above captioned case is DISMISSED without
prejudice for failure to prosecute under Rule 41(b) of the Rules of the United States Court
of Federal Claims. The Clerk is directed to enter judgment accordingly.

       IT IS SO ORDERED.


                                                            /s Nancy B. Firestone
                                                            NANCY B. FIRESTONE
                                                            Senior Judge
